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                      UNITED STATES DISTRICT COURT                                           U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF MO
                   EASTERN DISTRICT OF MISSOURI                                                    ST. LOUIS
                          EASTERN DMSION
UNITED STATES OF AMERICA,          )
                                   )
Plaintiff,                         )
                                   )
v.                                 ) No.                                4:18CR00197 RLW/JMB
                                   )
PAUL EVERETT CREAGER,              )
                                   )
Defendant.                         )
                            INDICTMENT

                              COUNT I (Wire Fraud - Solicitation of Investor)

      The Grand Jury charges that:

      Introduction

      1. At all relevant times, the Defendant Paul Everett Creager was a resident of Wildwood,

                Missouri which lies within the Eastern District of Missouri.

      2. At all relevant times, the Defendant was engaged in residential real estate development

                in St. Louis County which lies within the Eastern District of Missouri. The Defendant

                did business through a number of entities.

      3. The Defendant financed his business activities with, among other things, promissory

                notes, borrowing through at least one private lender and by selling interests in his

                entities to investors wishing to acquire equity.

      4. One of the Defendant's main sources of financing for his development activities was

                M.L., an individual residing in the Eastern District of Missouri and, originally, a social

                acquaintance of Defendant.

      The.Scheme

      5. Between October 2014 and September 2015, M.L. invested more than $2,500,000 in

                Defendant's business activities. M.L. invested as a partner, taking a fifty percent
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     equity stake in all of Defendant's development activities. M.L. planned to provide the

     capital for the development projects and Defendant would handle the operations of the

     business and the two would split the proceeds equally.

  6. Although their agreement was not formalized in writing, Defendant made numerous

     material false representations to induce M.L. to invest.

  7. Defendant represented himself to be personally wealthy. Defendant explained he

     owned an annuity worth more than five million dollars which was not liquid.

     Therefore, Defendant explained, he needed M.L.' s liquidity to avoid incurring fees and

     taxes that would be associated with tapping his annuity for working capital. In truth,

     Defendant had no such annuity, did not have a significant net worth during the relevant

     time period and had twice before declared personal banlauptcy.

  8. Defendant represented that all ofM.L. 's investments would be used for the real estate

     development business he and Defendant were undertaking. In truth, Defendant often

     diverted M.L. 's investments directly for his personal use. For example, December 30,

     2014, Defendant received proceeds of one of M.L. 's contributions to the business in the

     amount of$205,960.68. The next day, Defendant used those funds to make a $1,000

     deposit on a 2015 GMC Yukon Denali. Two days later, Defendant used $65,000 of

     those funds to complete his purchase of the Yukon. For further example, On

     September 10, 2015, Defendant received proceeds of another one of M.L. 's

     contributions to the business in the amount of $400,000. On September 22, 2015, the

     Defendant used $7,000 of those funds to make a downpayment on a 2015 Harley

     Davidson motorcycle.




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  9. Generally, the Defendant raised much more money from M.L., other investors and

      through loans than was necessary to fund his real estate development activities and

      used some of these proceeds not for business purposes but to maintain a luxury lifestyle

      which included a large residence, a large vacation residence, numerous luxury vehicles

      and extravagant trips.

  10. Defendant during the relevant time period continued to falsely represent to M.L that

      M.L. was Defendant's sole partner and the sole source of financing for his business.

      Unbeknownst to M.L., Defendant solicited other partners and borrowed large sums of

      money from, among others, FMS, LLC, a hard money lender and had given FMS a

      priority interest in virtually all Defendant's personal and hi;tsiness assets.

  11. By early 2017, Defendant's business was unable to meet its financial obligations and

     became delinquent to FMS.

  12. On or about July 10, 2017, FMS initiated foreclosure on all of Defendant's business

      developments and on numerous personal assets of Defendant. Other than the return of

     approximately $113,000, the investment ofM.L. appears to have been wiped out.

  Offense Conduct

  13. On or about September 10, 2015, having devised the foregoing scheme and artifice to

     defraud and to obtain money and property by means of false and :fraudulent pretenses,

     representations and promises and for the purpose of executing the same,

                                 PAUL EVERETT CREAGER,

  the Defendant herein did transmit and cause to be transmitted by means of wire, radio,

  television communication in interstate commerce, any writings, signs, signals, pictures, or




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  sounds to wit: a $400,000 wire transfer from M.L.'s financial account in Nebraska to an

  Everett Builders, LLC financial account in Missouri.

  All in violation of Title 18, United States Code Section 1343.

                         COUNT II (Wire Fraud -226 Wilson)

  14. Between January 1, 2015 and continuing through May 6, 2015, the Defendant, through

      an entity called L and P Builders, LLC, engaged in the building of a residence at 226

     Wilson, Kirkwood, Missouri which lies within the Eastern District of Missouri ("226

     Wilson" or "the residence").

  15. As a part of the construction of the residence, the Defendant retained the services of

     numerous subcontractors and agreed to pay those subcontractors for their services.

      One such subcontractor was Above and Below Contracting, LLC ("Above and Below")

     which provided storm sewer installation and related services for the construction of 226

     Wilson and presented Defendant with a contract for $30,000 in advance of the May 6,

     2015 closing on the sale of the residence.

  16. As the residence neared completion, Defendant communicated with Security Title

     Insurance Company, LLC, a title Insurance company with offices in and doing business

     in the Eastern District of Missouri. Defendant helped prepare closing documents

     which would disburse the sale proceeds to L and P Builders, LLC, lenders and

     subcontractors as directed by the Defendant. These documents did not include

     disbursements to Above and Below.

  17. After completing his instructions to Security Title, the title company required

     Defendant to prepare a "new construction closing affidavit" which averred, among

     other things that Defendant knew of no claims asserted by other parties. as to the

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      property and further that all subcontractors have been paid in full for services, labor and

      materials. This averment was false and material as the Defendant knew because

      Above and Below had previously made a valid claim for payment of $30,000 for

      services rendered on the construction of 226 Wilson and had not been paid.

   18. On May 6, 2015, the sale of226 Wilson closed and the proceeds of the sale were

      disbursed to lenders, drywall contractors, concrete contractors, attorneys, architects and

      others who did work on the project. Defendant also received a distribution of

      $49,876.17 at closing.

   19. Subsequent to the aforementioned closing, Above and Below contacted Defendant and

      Defendant refused to pay its bill. Above and Below then filed a valid mechanic's lien

      against 226 Wilson and sought payment of its bill from Security Title.

  20. Because Security Title had issued title insurance on 226 Wilson in reliance on·

      Defendant's false affidavit and the work of Above and Below related back to that

      property's title before closing and during the insured period, it paid off the lien filed by

      Above and Below in the amount of$32,167.40, representing Above and Below's

      unpaid bill and other related expenses.

  21. On or about May 6, 2015, having devised a scheme to defraud and to obtain money by

      means of false and fraudulent representations, pretenses and promises and for the

      purpose of executing the same,

                               PAUL EVERETT CREAGER,
  The Defendant herein, did transmit and cause to be transmitted by means of wire, radio and

  television communication in interstate commerce any writings, signs, signals, pictures, or

  sounds, to wit: the wire transfer from Security Title Insurance Agency, LLC to L and P

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       Builders, LLC $49,876.17, said wire traveling between the State oflowa and the State of

       Missouri.

       All in violation of Title 18, United States Code Section 1343.


                                  FORFEITURE ALLEGATION

The Grand Jury further finds by probable cause that:

1. Pursuant to Title 18, United States Code, Sections 981(a) and Title 28, United States Code,

Section 2461(c), upon conviction of an offense in violation of Title 18, United States Code,

Section 1343, as set forth in Counts One and Two, the defendant shall forfeit to the United States

of America any property, real or personal, constituting or derived from any proceeds traceable to

said offense(s).

2. Specific property subject to forfeiture includes, but is not limited to, the following:

                A. 2015 GMC Yukon, VIN: 1GKS2CKJ9FR565012

                B. 2015   Harley Davidson             FLHXS      Street    Glide     Special,   VIN:
                     1HD1KRM19FB605698

3.       Subject to forfeiture is a sum of money equal to the total value of any property, real or

personal, constituting or derived from any proceeds traceable to said offense of at least

$724,024.14.

4.     If any of the property described above, as a result of any act or omission of the defendant:

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;

                d.      has been substantially diminished in value; or




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               e.      has been commingled with other property which cannot be divided

                       without difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).



                                                             A TRUE BILL



                                                              FOREPERSON

JEFFREY B. JENSEN
United States Attorney



Thomas C. Albus, #46224MO
Assistant United States Attorney




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